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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Criminal Case No. 22-cr-00113-CMA-GPG

UNITED STATES OF AMERICA,

       Plaintiff,
v.

1.     DEBRA CAMPBELL,

       Defendant.



                            STIPULATION RE RESTITUTION



       The United States of America, through AUSA Pegeen D. Rhyne, and defendant

Debra Campbell, through AFPD Mary Butterton, hereby enter into this Stipulation re

Restitution. The parties stipulate as follows:

       1) The plea agreement in this case states that the restitution in this matter

           includes $252,069 to various victim HOAs and $158,820 to the IRS, resulting

           in total restitution of amount of $410,889;

       2) However, the government recently discovered that it made an error in

           determining the amount of restitution owed to the various HOAs and that the

           figure should be $357,809.42;

       3) Given that this error was entirely the government’s, and that the government

           stands by the plea agreement that it negotiated with defendant Campbell, the

           parties agree that the total amount of restitution ordered by the Court in this

           case should remain $410,889;

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     4) However, the parties stipulate that this total restitution should be

        reapportioned so that defendant Campbell is ordered to pay (1) $357,809.42

        to the various HOA victims as further identified in the presentence report and

        (2) $53,079.58 to the IRS;

     5) The government has consulted with the IRS, and it has agreed to this

        solution; and

     6) This stipulation is intended to impact only the restitution order in this matter; it

        is not intended to alter any other facts set forth in the plea agreement.



SO STIPULATED:



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